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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

   JASON SCHAUMLEFFEL                          :
             Plaintiff,                        :       Case No. 2:17-cv-463
                                               :
   vs.                                         :       Judge George C. Smith
                                               :       Magistrate Judge Kimberly A. Jolson
   MUSKINGUM UNIVERSITY, et al.                :
            Defendant.                         :

             NOTIFICATION OF LIFTING OF STAY RELATED TO STAY
              ISSUED PURSUANT TO FEDERAL BANKRUPTCY CODE

          On the 22nd day of August 2019, Plaintiff, Jason Schaumleffel, filed with the clerk

   of the United States Bankruptcy Court for the Southern District of Ohio, Eastern Division,

   at Columbus, Ohio, a voluntary petition under Chapter 13 of the United States Bankruptcy

   Code. The matter was been assigned Case No. 19-55411. An order granting Plaintiff’s

   voluntary dismissal of his bankruptcy petition was issued on January 8, 2020. Therefore,

   pursuant to this Court’s January 29, 2020 entry, Plaintiff requests a new case management

   schedule be established.

                                               Respectfully submitted,

                                               /s/ Eric Rosenberg
                                               Eric J. Rosenberg (Ohio Bar #0069958)
                                               David T. Ball (Ohio Bar #0078885)
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                                               Attorneys for Plaintiff Jason Schaumleffel
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                                CERTIFICATE OF SERVICE

   I certify that on January 29, 2020, I filed this court filing with the Clerk of Court using the
   CM/ECF system which will send notification of the filing to all counsel of record.


                                                  /s/ Eric Rosenberg
                                                  Eric J. Rosenberg (Ohio Bar #0069958)
